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                      UN ITED STA TES DISTRICT CO U RT FO R TH E
                           SO U TH ERN DISTRICT OF FLORID A
                                      M iam iD ivision

                           C ase N um ber: 12-20746-CIV -M O REN O

BLU E SEA S H O LD IN G LLC,

       Plaintiff,

VS.
                                                          C L O SE D
                                                           C IV IL
M ARIN E INSUM N CE CO M PAN Y LTD ,
                                                            C A SE
       Defendant.
                                              /

                                O R DER R EM A ND IN G CA SE

       THISCAUSE camebeforetheCourtuponthePlaintiffsM otiontoRemand(D.E.No.13),
tiled on M arch 19.2012.

       THE COURT hasconsideredthem otion and thepertinentportionsoftherecord,andbeing

otherwise fully advised in thepremises,itis

       A DJU D G ED thatthe m otion is GM N TED .

                         L EG A L STA N DA R D A N D A N A LYSIS

       Theburdenofestablishingfederaljurisdictionfallsonthepartywhoisattemptingtoinvoke
thejurisdictionofthefederalcourt.SeeMcNuttv.GeneralMotorsAcceptanceCorp.,298U.S.178,
189 (1936). Courts should strictly construe the requirements of28 U.S.C.j1441 (removal
jurisdiction)andremanda1lcasesinwhich suchjurisdictionisdoubtful.SeeShamrockOilttGas
Corp.v.Sheets,313U.S.100,109(1941).M oreover,removalstatutesareconstruednarrowly,and

whentheplaintiffanddefendantclashontheissueofjurisdiction,uncertaintiesareresolvedinfavor
ofremand.SeeBurnsv.Windsorlns.Co.,31F.3d 1092,1095(11thCir.1994).
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       ThePlaintiffhasm oved to remand the caseforfotlrreasons.First,fora proceduraldefect

misingfrom theDefendant'suntim elyfilingofthenoticeofrem oval.Second,foralackofcomplete

diversitybetweentheparties.Third,the insurancepolicyatissuestatesthatdeferencewillbegiven

totheplaintiffschoiceofforum .And fourth,thatthestateofFloridaand itscourtshavean interest

inadjudicatinginsurancemattersoccuningwithinthestateofFlorida.Remandiswarrantedbythe
tirsttworeasonsand therefore itisurmecessary forthisCourtto rule on the others.

       Rem and iswarranted on thebasisoftheD efendant'suntim ely filing ofthenoticeofrem oval.

Pursuantto 28 U.S.C.j 1446(b),aNoticeofRemovalmustbefiled within thirty daysafterthe
Defendantisservedandsuchaproceduraldefectjustitiesremandofthecase.SeeFerrariv.Safeco
SurplusLinesIns.Co.,2009W L 1738350,*1(S.D.Fla.2009).TheDefendant'sNoticeofRemoval
statesthatitwasserved with thecomplaintonJanuary 18,2012.However,theDefendant'sNotice

ofRem ovalwasnotfiled w ith this courtuntilFebruary 22,2012,m ore than thirty daysafteritw as

served.

       Rem and isalso w arranted on thebasisoflack ofcom plete diversity.The Plaintiffisacitizen

ofthe state ofFlorida where itis dom iciled and has itsprincipalplace ofbusiness.The D efendant

isaBritish insurerwithitsprincipalplaceofbusinessin London,England thatisdoing businessas

asurpluslinesinsurancecarrierinFlorida.Pursuantto28U.S.C.j1332,ina''directactionagainst
theinsurerofapolicyorcontractofliabilityinsurance...towhichactiontheinsuredisnotjoinedas
aparty-defendant,suchan insurershallbedeemedacitizenof(1)everystateandForeignstateof
whichtheinsured isacitizen.''28U.S.C.j1332(c)(1)(A).AsstatedintheDefendant'sNoticeof
Rem oval,the Plaintiffs com plaintallegesa cause ofaction forbreach ofcontractand declaratory

judgmentwithrespecttoamarineinsurancepolicy.Thus,theDefendant,astheinsurer,isdeemed

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                                                 2-
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acitizen ofthestateofFlorida becausethe insured,thePlaintiff,isacitizen ofthestateofFlorida.

                                     C O N C LU SIO N

      ORDERED AN D ADJUDGED thatthisCasebe,andthesame is,herebyREM ANDED to

theCircuitCourtfortheEleventhJudicialCircuitinand forDadeCounty,Florida.TheClerk ofthe

Courtishereby directed totakeallnecessarystepsandproeeduresto effecttheexpeditiousremand

oftheabove-styled action.


                                                                     /-
      ooxnAxooaosltsoinchambersatMiami,ylorida,thislldayof
                                                         -varch,2012.
                                                            yss'      -
                                                        Z     ,

                                         FED ERI A .M OREN O
                                         C HIEF UN ITED STATES D ISTR ICT JU D G E

Copies provided to:
CounselofRecord
Clerk oftheCourtforthe 11th JudicialCircuitin and forDadeCounty,Florida
